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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )         4:08CR3031
                                              )
                   Plaintiff,                 )
                                              )
      vs.                                     )
                                              )         ORDER
AMY L. MCNALLY,                               )
                                              )
                   Defendant.                 )

      On the oral motion of defense counsel,

       IT IS ORDERED that Defendant McNally’s sentencing is continued to Tuesday,
March 3, 2009, at 1:00 p.m., before the undersigned United States district judge, in
Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

      February 17, 2009.                   BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge
